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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  STATESBORO DIVISION


    CHRISTOPHER LEE AMERSON,

                   Plaintiff,                                        CIVIL ACTION NO.: 6:19-cv-31

          v.

    SHERRY BLAND; and GAIL WEST, in their
    individual and official capacities,

                   Defendants.


                                                   ORDER

         After an independent and de novo review of the entire record, the undersigned concurs with

the Magistrate Judge’s Report and Recommendation, (doc. 43). Plaintiff did not file Objections

to the Report and Recommendation.1 Accordingly, the Court ADOPTS the Magistrate Judge’s

Report and Recommendation as the opinion of the Court. The Court DENIES Plaintiff’s requests

for the Court to enter default and default judgment against Defendants and to strike Defendants’

responsive pleadings, (docs. 27, 32, 33, 35-1).

         SO ORDERED, this 4th day of August, 2020.




                                            R. STAN BAKER
                                            UNITED STATES DISTRICT JUDGE
                                            SOUTHERN DISTRICT OF GEORGIA



1
  Plaintiff has filed a Motion for Judgment on the Pleadings, (doc. 44), and a Motion for Sanctions, (doc. 45). Those
Motions are not responsive to the Magistrate Judge’s Report and Recommendation. To the extent those pleadings are
intended as objections, they have no effect on the analysis in the Report and Recommendation, and they are
OVERRULED.
